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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                       )
                                                )          8:06CR119
                    Plaintiff,                  )
                                                )
      vs.                                       )             ORDER
                                                )
LEONEL GARCIA-PADILLA,                          )
                                                )
                    Defendant.                  )



      This matter is before the court on the defendant Leonel Garcia-Padilla’s motion for
continuance of the defendant’s trial (Filing No. 60). Upon consideration,


      IT IS ORDERED:
      The defendant Leonel Garcia-Padilla’s motion for continuance (Filing No. 60) is
denied.
      DATED this 27th day of October, 2006.
                                                BY THE COURT:
                                                s/Thomas D. Thalken
                                                United States Magistrate Judge
